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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


      Adrian Rosalio Reyes Ovalle, et al.

                         v.                                      Case No. 2:21-cv-3591

        Harris Blacktopping Inc., et al.


     Motion to Compel Defendant Harris Blacktopping, Inc. To Respond to Discovery

        Defendant Harris Blacktopping, Inc. (“HB”)’s discovery responses were due on March

24. After Plaintiffs gave HB two extensions, the company responded on April 5. Plaintiffs

identified numerous material deficiencies in HB’s responses, and the parties held a meet-and-

confer on April 12. At the meet-and-confer, HB promised to search for responsive text messages

between HB’s principals and certain witnesses, and to update Plaintiffs on the status of that

search within 24 hours. HB also promised to take numerous other actions by April 18: HB

agreed to search for and produce critical documents, answer key interrogatories, and update

Plaintiffs’ counsel on their efforts.

        It is now May 3, and HB has done none of the things it promised to do at the April 12

meet-and-confer. Having engaged in numerous efforts to get HB to cooperate in discovery

voluntarily without success, Plaintiffs now turn to the Court.

                         Defendants’ Failure to Cooperate in Discovery

        Plaintiffs’ counsel (Datlof) served HB with interrogatories and document requests on

February 22, 2022. On March 24, the day the responses were due, HB’s counsel (Durivage)

emailed Datlof to ask for a six-day extension until April 1. (Ex. 1). Datlof agreed. (Ex. 2).

HB did not produce any discovery responses by April 1.

        On April 4, Datlof reached out to Durivage by phone and email, noting that HB’s

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responses were now 11 days overdue, and gave him until the end of the day to respond or face a

motion to compel. (See Ex. 3). Durivage emailed Datlof to say that HB would respond the next

day, April 5 (See Ex. 4).

          On April 5, Durivage sent Datlof HB’s interrogatory responses and document production.

Both responses were materially deficient. Datlof emailed Durivage the next day about the

deficiencies, and the parties agreed to meet and confer on April 12. (See Ex. 5).1

          At the April 12 meet-and-confer, the parties discussed discovery responses that Plaintiffs

found deficient. HB committed to taking specific, concrete actions on nearly all of them. On

April 13, another of Plaintiffs’ attorneys (Menniti) emailed Durivage to memorialize what the

parties had agreed to at the meet-and-confer. (Ex. 6) Menniti’s April 13 email instructed

Durivage to let Plaintiffs know if any part of Menniti’s summary of the meet-and-confer was

incorrect. (Ex. 6). Durivage did not respond to Menniti’s April 13 email.

          As memorialized in the April 13 email, HB agreed to rectify some of the problems within

24 hours, and to rectify others (or notify Plaintiffs of their progress) by April 18. (See Ex. 6).

          The April 18 deadline came and went, but HB did not produce any additional documents,

provide any additional information, or follow up with Plaintiffs’ counsel about any of the issues

it had agreed to report on at the meet-and-confer. The next day, Menniti emailed Durivage to

inquire about HB’s failure to do any of the things it had agreed to do at the meet-and-confer, and

to ask for a meeting that week to discuss the matter. (Ex. 7). Durivage did not respond to this

email.

          HB has still taken no action on any of the commitments it made at the meet-and-confer.



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    In their email of April 6, Plaintiffs mistakenly stated that HB had not produced any documents on April
    5. HB had in fact produced some documents earlier that evening. However, for the reasons identified at
    the April 12 meet-and-confer, the production was deficient.
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               The Court Should Compel Harris Blacktopping to Honor the
                     Commitments It Made at the Meet-And-Confer

1. Search the cell phones of Defendants James Harris and Harry Harris for responsive

   text messages. HB agreed to search for and produce text messages between Defendants

   James Harris and Harry Harris and Plaintiffs Adrian Reyes, Mario Reyes, Patrick Ulupano,

   and third-party witness Vilivili Fitsemanu.

2. Search for and produce images missing from text messages between HB secretary Kelly

   Thomas and third-party witness Margaret Reyes. These images likely include

   photographs of Plaintiffs’ timecards.

3. Search for and produce responsive emails between Kelly Thomas and Margaret Reyes.

4. Produce gas card records. Plaintiffs paid for gas for their daily commute using an HB gas

   card. These records are likely to be probative in determining Plaintiffs’ hours of work.

5. Produce payroll and timecard records for comparator workers. These records are likely

   to be probative of Plaintiffs’ discrimination claims.

6. Produce a list of all HB “operator” and “laborer” workers (including each worker’s

   years at the company, race, age, and language spoken).

7. Produce time records and timecards in original form and as originally kept.

8. Produce relevant personnel records.

9. Search for and produce correspondence between HB and its payroll providers.

10. Produce documentation related to prevailing wage projects, including prevailing wage

   schedules, locations of projects, and timing of projects. These records will be probative of

   both the wage-and-hour and discrimination claims.

11. Produce a list of all projects completed between 2017 and 2020, which will allow

   Plaintiffs to identify witnesses to weekend work and other off-the-clock work.

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Respectfully submitted,


Date: May 3, 2022                          /s/Nicholas Marritz_________________
                                           Nicholas Marritz, Attorney Pro Hac Vice
                                           Justice At Work Pennsylvania
                                           990 Spring Garden Street, Suite 300
                                           Philadelphia, PA 19123
                                           nmarritz@justiceatworklegalaid.org
                                           Tel: (215) 733-0878




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                   v.                                     Case No. 2:21-cv-3591

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                              CERTIFICATE OF SERVICE

I hereby certify that on May 3, 2022, I filed a copy of the foregoing document via the Court’s
CM/ECF system, which will cause all counsel of record to be served with a Notice of
Electronic Filing and a link to the document, including:

                                     Lee Durivage, Esq.
                        Marshall Dennehey Warner Coleman & Goggin
                               2000 Market Street, Suite 2300
                                   Philadelphia, PA 19103
                              LCDurivage@MDCWG.com




Dated:     May 3, 2022                           Respectfully Submitted,


                                                 /s/Nicholas Marritz__________________
                                                 Nicholas Marritz, Attorney Pro Hac Vice
                                                 Justice at Work Pennsylvania
                                                 990 Spring Garden Street, Suite 300
                                                 Philadelphia, PA 19123
                                                 nmarritz@justiceatworklegalaid.org
                                                 Tel: (215) 733-0878




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